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                   IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF ALASKA
 UNITED STATES OF ANIERICA

                     Plaintil■                      Case No. 3:17-cv-00

                     V.                             FILED EX PARπ
                                                    AND UNDER SEAL
PETER YURYEWlCH LEVASHOV,
  a/k/a``Petr Levashov,"“ Peter Severa,''
       "Petr Severa," and "sergey Astakhov",)
                                             )
                     Defendant.

           MOTION FOR TEMPORARY RESTRAINING ORDER AND

      Plaintiff, the United States of America, by and through its attorneys, Bryan

Schroder, Acting United States Attorney for the District of Alaska, Kenneth A.

Blanco, Acting Assistant Attorney General, Richard L. pomeroy, yvonne

Lamoureux and Adam Alexander, Assistant United States Attorneys, and Ethan

Arenson, Harold Chun and Frank Lin, Trial Attorneys, respectfully moves ex parte,

pursuant to Title 18, United States Code, Sections 1345 and 252l and.Rule 6b1b) of

the Federal Rules of Civil Procedure, for a Temporary Restraining Order and Ord.er

to Show Cause Re Preliminary Injunction.

      1.    As rnore fully set forth in the attached Memorandum of Law, the

Defendant is responsible for the operation of a sophisticated malware named.

Kelihos. Kelihos is malware that distributes spam, distributes malware, such as

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 ransomware, and harvests credentials. Kelihos is a malware designed to create a

 peer to peer botnet, that is,   it   looks to infect a large number of computers and

 furthers its infections and malicious activities by communicating with other infected

computers. The Kelihos botnet has been known to have infected more than 100,000

computers worldwide at a single time, with some of those infected computers

residing in the District of Alaska and elsewhere in the United States.

         2.     To halt this conduct, the United States requests that this Court enter

the proposed Temporary Restraining Order, which commands the Defendant to

cease his criminal activity, authorizes the Government to undertake a technical

disruption of the Defendant's malware infrastructure, and orders the Defendant to

appear before this Court and show cause, if any, why a preliminary injunction

should not be issued.

         WHEREFORE, the Government requests that the Court enter the proposed

Order.

         RESPECTFULLY SUBMITTED, on April 4th, atAnchorage, Alaska.

         BRYAN SCHRODER                             KENNETHA. BLANCO
         Acting United States Attorney              Acting Assistant Attorney General


By:               Pomerov
         /s/ Richard           By: /s/ Ethan Arenson
      RICHARD POMEROY              ETHANARENSON
      WONNE LAMOUREUX              HAROLD CHUN
      ADAMALEXANDER                FRANKLIN
      Assistant U.S. Attorneys     Trial Attorneys
      District of Alaska           Computer Crime and
                                                    Intellectual Property Section



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